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                                              May 20, 2024

BY ECF
Hon. Catherine O’Hagan Wolfe
Clerk of Court
United States Court of Appeals
for the Second Circuit
40 Foley Square
New York, New York 10007
Email: civilcases@ca2.uscourts.gov

       Re:     Zivkovic v. Laura Christy LLC, Dkt. No. 22-1558 (2d Cir.)

Dear Ms. O’Hagan Wolfe:

       On behalf of appellant Laura Christy LLC, I write respectfully in brief response to the letter
filed with the Court on May 17, 2024 (“May 17 Letter”) by Neil Berger, Esq., counsel to the
Chapter 7 Interim Bankruptcy Trustee for appellant Laura Christy Midtown LLC and the Interim
Bankruptcy Trustee for David Ghatanfard, Yann Geron, Esq. (collectively, the “Trustees”). I wish
to make the following brief points:

   1. Like the LCM Trustee’s letter to the Court, dated May 10, 2024, the May 17 Letter
      improperly seeks relief without a motion. See Fed. R. App. P. 27(a)(1). Therefore, it, too,
      is procedurally defective and should be rejected.

   2. The May 17 letter requests that the Court postpone deciding this appeal for six months so
      that the Trustees can “investigate” and “familiarize” themselves with the case, try to settle
      it, or “maximize . . . an efficient administration of this appeal.” May 17 Letter at 1-2
      (emphasis added).

       The Trustees do not need six months to learn this case, and their request for such a lengthy
       period is a transparent attempt at using illness and delay to cram down a settlement on all
       the Restaurant Defendants. Laura Christy LLC will not consider settling until after this
       appeal is decided.

       Further, as “newly appointed fiduciaries,” the Trustees should have every interest in the
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      prompt resolution of the appeal that could relieve their debtors of the very liability that drove
      them into bankruptcy. May 17 Letter at 1. If the Trustees truly hope to oversee an “efficient
      administration of this appeal” – which was argued more than three months ago – they would
      simply let this Court do its work. Id. at 2.

                                      Respectfully submitted,

                                    ABRAMS FENSTERMAN, LLP




                              By:
                                             Daniel S. Alter
                                          Counsel for Appellants


Cc:   All counsel by ECF
      Yann Geron, Esq. by email
      Anne Penachio, Esq. by email




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